                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

      v.                                              Case No. 05-CR-213

DONTE DAVIS
                    Defendant.


                            SENTENCING MEMORANDUM

      Defendant Donte Davis pleaded guilty to conspiracy to distribute more than 500

grams of cocaine. 21 U.S.C. §§ 841(a)(1) & (b)(1)(B). The probation office prepared a

pre-sentence report (PSR), which assigned a base offense level of 32 based on the 500+

grams of powder cocaine involved in the offense of conviction and two ounces (56.7

grams) of crack cocaine included as relevant conduct. See U.S.S.G. § 2D1.1(c)(4); see

also § 1B1.3(a)(2). The PSR then deducted 2 levels because defendant qualified for the

safety valve, § 2D1.1(b)(7); see also U.S.S.G. § 5C1.2, and 3 more levels based on his

acceptance of responsibility, § 3E1.1. Coupled with a criminal history category of I,

defendant’s imprisonment range was 70-87 months.

      Defendant requested a non-guideline sentence of 40 months, while the government

advocated a term at the low end of the advisory range. After considering the arguments

of counsel and all of the factors set forth in 18 U.S.C. § 3553(a), I decided to impose a

sentence of 57 months. In this memorandum I set forth the reasons.




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                             I. SENTENCING FACTORS

      Section 3553(a) instructs the sentencing court to consider seven factors:

      (1)   the nature and circumstances of the offense and the history and
      characteristics of the defendant;

      (2)    the need for the sentence imposed--

             (A) to reflect the seriousness of the offense, to promote respect for the law,
             and to provide just punishment for the offense;

             (B) to afford adequate deterrence to criminal conduct;

             (C) to protect the public from further crimes of the defendant; and

             (D) to provide the defendant with needed educational or vocational training,
             medical care, or other correctional treatment in the most effective manner;

      (3)    the kinds of sentences available;

      (4)    the advisory guideline range;

      (5)    any pertinent policy statements issued by the Sentencing Commission;

      (6)    the need to avoid unwarranted sentence disparities; and

      (7)    the need to provide restitution to any victims of the offense.

After considering these factors, the court must “impose a sentence sufficient, but not

greater than necessary, to comply with the purposes set forth in paragraph (2).” 18 U.S.C.

§ 3553(a).

                                    II. DISCUSSION

A.    Nature of Offense

      Defendant joined a cocaine distribution conspiracy headed by Donte Jordan, a

large-scale Milwaukee area distributor who supplied many smaller dealers. From 2003 to

2005, defendant obtained more than 500 grams of powder cocaine from Jordan, which he


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typically sold to end users in small amounts. On one occasion, defendant was approached

by an individual looking for crack. Defendant had no crack himself and did not know how

to cook the powder he did have into base, so he agreed to middle a two ounce (56.7g) deal

between this individual and Jordan, from which defendant did not profit.

       The offense was serious given the length of time over which it occurred and the

amounts involved. However, defendant dealt almost exclusively in powder, he never

possessed a weapon, and he engaged in no violence or threatening behavior. The

government agreed that defendant was at or near the bottom of the conspiracy in terms

of culpability.

B.     Character of Defendant

       Defendant was 21 years old and had no prior record. He graduated from high

school and seemed to have potential, but unfortunately did not apply himself productively.

He had no verifiable employment history, and it appeared that he supported himself either

by dealing or relying on his family. He also had a history of abusing alcohol and marijuana,

and failed a drug test shortly before his guilty plea when he smoked a “blunt” on his

birthday.

       There were positive aspects to his character. He debriefed with the government,

making a sincere effort to cooperate, though his efforts failed to yield a substantial

assistance motion. At sentencing, he expressed sincere remorse for his conduct and the

effect it had on his family. He also expressed thankfulness that he had been arrested

because, as he put it, life on the streets left one either dead or in jail. This way, he would

have a second chance. Finally, defendant seemed to be spending his time in custody

productively, rather than wallowing in self-pity. He also had a supportive family and,

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according to his statements to the PSR writer and at sentencing, plans and hope for the

future. This seemed to bode well for his re-entry into the community. The probation officer

believed him unlikely to re-offend.

C.     Purposes of Sentencing

       I found that defendant was not dangerous or a particular risk of recidivism.

However, there was a need for a significant period of confinement to reflect the

seriousness of the offense, provide just punishment and deter others. Defendant had

substance abuse treatment needs, but under the circumstances I had to deal with them

through recommendations to the BOP and conditions of supervised release.

D.     Consideration of Guidelines

       The guidelines called for a term of 70-87 months. I concluded that a sentence

within the range would be somewhat greater than necessary to satisfy the purposes of

sentencing.

       First, the range was greatly enhanced by the inclusion of the two ounces of crack

as relevant conduct. Were it not for that single deal, the base level would have been 26

and the low end of the advisory range 37 months. Under the particular circumstances of

this case, where defendant was not in the business of supplying crack, he did so on one

occasion at the request of another for no profit, and his involvement with that substance

was somewhat aberrational, a sentence nearly twice what it would otherwise have been

was greater than necessary to satisfy the purposes of sentencing. I believed it appropriate

to, in effect, reduce the range by 2 levels to account for this factor. Cf. U.S.S.G. 3B1.2(b).

This gave some weight to defendant’s involvement with crack but not an undue amount.



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       Second and relatedly, I considered the sentences imposed on the co-defendants

in this case. Patrick Alexander, Corey Hudson, Robert Chambers and Marshal Noel, who

dealt primarily in crack and had significant prior records, all received 84 month sentences.

Co-defendant Ricky Newell, who dealt exclusively in powder and had no record, received

a 37 month sentence.1 A sentence 2 levels below the range placed defendant between

these co-defendants, which seemed an accurate measure of his culpability under all the

circumstances.

       Finally, I considered defendant’s positive character development as reflected in his

allocution, statements to the PSR writer and attempts to cooperate, factors the guidelines

did not take into account. Coupled with the support from his family, this new-found

maturity made defendant less likely to re-offend. I also considered the opinion of the

experienced probation officer that defendant was not likely to be back.

                                    III. CONCLUSION

       For all of these reasons, I committed defendant to the custody of the Bureau of

Prisons for 57 months.2 I found this sentence sufficient but not greater than necessary.

I recommended any drug treatment programs available, including the 500 hour program,

and placement at a facility as close to defendant’s family as possible.

       Upon release, I ordered defendant to serve a supervised release term of three

years. The safety valve allowed a term below the statutory minimum of four years, and



       1
      Were it not for the two ounce crack deal, defendant’s range would have been the
same as Newell’s.
       2
        Because defendant qualified for the safety valve, the five year mandatory minimum
did not apply. 18 U.S.C. § 3553(f).

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given his strong family support and lack of record, a term at the low end of the guideline

range was sufficient to ensure that he was monitored, avoided new law violations, and

either found legitimate work or furthered his education. I also included a drug aftercare

condition to ensure that he dealt with his substance abuse issues. Other terms of the

sentence appear in the judgment.

      Dated at Milwaukee, Wisconsin, this 7th day of June, 2006.


                                         /s Lynn Adelman
                                         _____________________________
                                         LYNN ADELMAN
                                         District Judge




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